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 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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     MILLARD WAYNE BAKER, JR.,                            Case No. 2:22-cv-01096-KJM-JDP (PC)
12
                                             Plaintiff, [PROPOSED] ORDER GRANTING
13                                                      DEFENDANTS’ FIRST MOTION TO
                   v.                                   EXTEND DEADLINE FOR
14                                                      RESPONSIVE PLEADING
15   SOLORANO, et al.,
16                                      Defendants.
17

18        Defendants moved for a 10-day extension of time to file a responsive pleadings. Good

19   cause appearing, the Court GRANTS the motion. ECF No. 22. Defendants shall file a responsive

20   pleading no later than March 9, 2023.

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     IT IS SO ORDERED.
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     Dated:    February 16, 2023
24                                                        JEREMY D. PETERSON
                                                          UNITED STATES MAGISTRATE JUDGE
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